                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                                            Chapter 11
In re:
                                                            Case No. 12-43166
ENERGY CONVERSION DEVICES, INC.,
                                                            (Jointly Administered)
et al.1,
                                                            Judge Thomas Tucker
                        Debtors.


                 SUPPLEMENT TO DEBTORS’ MOTION FOR AN ORDER
              AUTHORIZING THE SALE OF CERTAIN EQUIPMENT FREE AND
                   CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

         Energy Conversion Devices, Inc. (“ECD”) and United Solar Ovonic LLC (“USO”), as

debtors and debtors in possession in the above-captioned Chapter 11 cases (collectively the

“Debtors”), for their Supplement to Debtors’ Motion for an Order Authorizing the Sale of

Certain Equipment Free and Clear of Liens, Claims and Encumbrances state:

         1.      On February 24, 2012, Debtors filed their Debtors’ Motion for an Order

Authorizing the Sale of Certain Equipment Free and Clear of Liens, Claims and Encumbrances

(the “AH2 Motion”) [Docket No. 71].

         2.      Since filing the AH2 Motion, the Debtors have been able to take inventory of the

AH2 Equipment referenced in the AH2 Motion. Accordingly, attached as Supplement Exhibit

6 is the list of the AH2 Equipment.

         3.      The Debtors have also been able to establish a timeline for the proposed asset

sale, which the Debtors seek Court approval of in the AH2 Motion. The proposed timeline is as

follows:



1The Debtors in these jointly administered cases are Energy Conversion Devices, Inc. (Case No.
12-43166) and United Solar Ovonic LLC (Case No. 12-43167).


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              a.      March 23 to March 29, 2012 - Online auction sale for the AH2 Equipment
                      at www.hilcoind.com/sales (the “Online Auction”)

              b.      April 20, 2012 - Removal deadline for buyers of the AH2 Equipment

       4.     During the Online Auction, there will be no bidding at 2705 Commerce Parkway,

Auburn Hills, Michigan (the “AH2 Facility”), but buyers anywhere in the world may participate

in the Online Auction at the Hilco website referenced above.

       5.     While the Debtors do not propose to sell any AH2 Equipment before March 29,

2012, the Debtors do intend to begin receiving bids on the AH2 Equipment on March 23, 2012.

Therefore, out of an abundance of caution, the Debtors request the waiver of Rule 6004(h) of the

Federal Rules of Bankruptcy Procedure.

       6.     Accordingly, attached as Supplement Exhibit 1 is the revised proposed Order

Authorizing the Sale of Certain Equipment Free and Clear of Liens, Claims and Encumbrances,

redlined to show the revisions from the form attached to the AH2 Motion.



                                   HONIGMAN MILLER SCHWARTZ AND COHN LLP
                                   Proposed counsel for the Debtors

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                               Supplement Exhibit 6

                               AH2 Equipment List




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Item #        Description                                        Information                Quantity   Unit of Measure   FA NUMBER
      1       Tan 2 door cabinet metal                                                            1          each
      2       Black 2 door cabinet metal                                                          1          each
      3       Black 2 door cabinet plastic                                                        1          each
      4       Tan 4 drawer metal file cabinet                    HON                              1          each
      5       Black 4 drawer metal file cabinet                  HON                              1          each
      6       Gray 3 drawer cabinet                              HON                              1          each
      7       Gray 3 drawer cabinet                              HON                              1          each
      8       Gray 2 door cabinet                                HON                              1          each
      9       Gray 4 drawer file cabinet                         HON                              1          each
     10       Plastic chairs one stack of 10                                                      1          each
     11       Plastic chairs one stack of 10                                                      1          each
     12       Plastic chairs one stack of 10                                                      1          each
     13       Plastic chairs one stack of 10                                                      1          each
     14       Plastic chairs one stack of 10                                                      1          each
     15       Plastic chairs one stack of 10                                                      1          each
     16       Plastic chairs one stack of 10                                                      1          each
     17       Plastic chairs one stack of 10                                                      1          each
     18       Plastic chairs one stack of 10                                                      1          each
     19       Plastic chairs one stack of 10                                                      1          each
     20       Plastic chairs one stack of 10                                                      1          each
     21       Plastic chairs one stack of 10                                                      1          each
     22       Plastic chairs one stack of 10                                                      1          each
     23       Gray plastic trash can with lid                    Rubermaid                        1          each
     24       Gray plastic trash can with lid                    Rubermaid                        1          each
     25       Rubbermaid recyclable blue (paper)                                                  1          each
     26       Rubbermaid recyclable blue (paper)                                                  1          each
     27       Rubbermaid recyclable blue (paper)                                                  1          each
     28       Rubbermaid recyclable blue (paper)                                                  1          each
     29       24'' x 18'' (2) shelves wire rack                                                   1          each
     30       24'' x 18'' (2) shelves wire rack                                                   1          each
     31       24'' x 18'' (2) shelves wire rack                                                   1          each
     32       24'' x 18'' (2) shelves wire rack                                                   1          each
     33       24'' x 18'' (2) shelves wire rack                                                   1          each
     34       24'' x 18'' (2) shelves wire rack                                                   1          each
     35       24'' x 18'' (2) shelves wire rack                                                   1          each
     36       24'' x 18'' (2) shelves wire rack                                                   1          each
     37       24'' x 18'' (2) shelves wire rack                                                   1          each
     38       24'' x 18'' (2) shelves wire rack                                                   1          each
     39       24'' x 24'' (2) shelves wire rack                                                   1          each
     40       24'' x 24'' (2) shelves wire rack                                                   1          each
     41       24'' x 24'' (4) shelves wire rack                                                   1          each
     42       24'' x 24'' (4) shelves wire rack                                                   1          each
     43       24'' x 24'' (4) shelves wire rack                                                   1          each
     44       24'' x 18'' (4) shelves wire rack                                                   1          each
     45       24'' x 18'' (4) shelves wire rack                                                   1          each
     46       24'' x 18'' (4) shelves wire rack                                                   1          each
     47       24'' x 24''(2) shelves wire rack                                                    1          each
     48       36'' x 18'' (4) shelves wire rack                                                   1          each
     49       Black metal coat rack with base                                                     1          each
     50       Black metal coat rack                                                               1          each
     51       Wire coat rack                                                                      1          each
     52       24'' x 32'' blue roller rack (3) shelves                                            1          each
     53       30'' x 36'' blue roller rack (3) shelves                                            1          each
     54       30'' x 36'' blue roller rack (3) shelves                                            1          each
     55       75.5'' x 37'' blue roller rack (3) shelves                                          1          each
     56       45'' x 45'' blue roller rack (3) shelves                                            1          each
     57       45'' x 45'' blue roller rack (3) shelves                                            1          each
     58       61'' x 33'' blue roller rack (30 shelves                                            1          each
     59       Tan metal bookcase (3) shelves                                                      1          each
     60       Office mail box metal - 3 shelf                                                     1          each
     61       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each
     62       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each          299?
     63       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each          3013
     64       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each          3014
     65       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each          3003
     66       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each
     67       Metal rolling cell cart (4) shelves 76'' x 24''                                     1          each          3008
     68       Metal rolling cell cart (2) shelves 72'' x 24''                                     1          each



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    69       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    70       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    71       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    72       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    73       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    74       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    75       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    76       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    77       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    78       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    79       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    80       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    81       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    82       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    83       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    84       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    85       Metal rolling cell cart (2) shelves 72'' x 24''                                 1          each
    86       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each      3001
    87       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each      3004
    88       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each
    89       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each      3005
    90       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each      301?
    91       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each
    92       Metal rolling cell cart (4) shelves 50'' x 24''                                 1          each
    93       Cotterman metal 3 step ladder (rolling)                                         1          each
    94       Cotterman metal 3 step ladder (rolling)                                         1          each
    95       Cotterman metal 3 step ladder (rolling)                                         1          each
    96       Cotterman metal 3 step ladder (rolling)                                         1          each
    97       Cotterman metal 3 step ladder (rolling)                                         1          each
    98       Cotterman metal 3 step ladder (rolling)                                         1          each
    99       Cotterman metal 3 step ladder (rolling)                                         1          each
   100       Cotterman metal 3 step ladder (rolling)                                         1          each
   101       Cotterman metal 3 step ladder (rolling)                                         1          each
   102       Cotterman metal 3 step ladder (rolling)                                         1          each
   103       Cotterman metal 4 step ladder (rolling)                                         1          each
   104       Cotterman tilt roll 4 step ladder                                               1          each
   105       Cotterman tilt roll 4 step ladder                                               1          each
   106       Cotterman tilt roll 4 step ladder                                               1          each
   107       Cotterman rolling ladder                                                        1          each
   108       Ballymore tilt 4 step ladder                                                    1          each
   109       Ballymore tilt 4 step ladder                                                    1          each
   110       Cotterman 2 step- step ladder                                                   1          each
   111       Cotterman 2 step- step ladder                                                   1          each
   112       24'' x 24'' (4) shelves wire rack                                               1          each
   113       24'' x 24'' (4) shelves wire rack                                               1          each
   114       24'' x 24'' (4) shelves wire rack                                               1          each
   115       Misc plastics Bin boxes                                                         1          pallet
   116       Misc plastics Bin boxes                                                         1          pallet
   117       Misc plastics Bin boxes                                                         1          pallet
   118       Misc plastics Bin boxes                                                         1          pallet
   119       60'' x 30'' maple top work bench                                                1          each
   120       60'' x 30'' maple top work bench                                                1          each
   121       60'' x 30'' maple top work bench                                                1          each
   122       72'' x 30'' maple top work bench                                                1          each
   123       72'' x 30'' maple top work bench                                                1          each
   124       84'' x 36'' maple top work bench                                                1          each
   125       96'' x 36'' maple top work bench                                                1          each
   126       84'' x 36'' maple top work bench                                                1          each
   127       100'' x 36'' maple top work bench                                               1          each
   128       72'' x 36'' metal top work bench                                                1          each
   129       72'' x 36'' metal top work bench                                                1          each
   130       72'' x 36'' metal top work bench                                                1          each
   131       72'' x 36'' metal top work bench                                                1          each
   132       72'' x 36'' metal top work bench                                                1          each
   133       60'' x 30'' metal top work bench                                                1          each
   134       60'' x 30'' metal top work bench                                                1          each
   135       72'' x 36'' vinyl cover work bench                                              1          each
   136       Misc roller flow racks: 53" wide                                                1          pallet
   137       Misc roller flow racks: 53" wide                                                1          pallet



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   138       Misc roller flow racks: 53" wide                                                           1     pallet
   139       Misc roller flow racks: 53" wide                                                           1     pallet
   140       Misc roller flow racks: 24" wide                                                           1     pallet
   141       Misc roller flow racks: 24" wide                                                           1     pallet
   142       Misc roller flow racks: 24" wide                                                           1     pallet
   143        Work table 110'' x 18''                                                                   1     each
   144       Coil turn around racks                                                                     1     each
   145       Coil turn around racks                                                                     1     each
   146       Small green coil rack                                                                      1     each
   147       Wesco battery lift kart                         Model PCBFL-76-25, Serial # 181796         1     each
   148       Vestil wheel base lift kark                     Model LIFTR-2-Global , 500lbs.             1     each
   149       Green flow rack(wheeled based) 105'' x 36''                                                1     each
   150       Yellow pallet jack (5500 lbs)                   Liftrite                                   1     each
   151       Yellow pallet jack (5500 lbs)                   Liftrite                                   1     each
   152       Red pallet jack (6000 lbs)                      Dayton 4YX96                               1     each
   153       35'' x 18'' rolling wire rack                                                              1     each
   154       35'' x 18'' rolling wire rack                                                              1     each
   155       35'' x 18'' rolling wire rack                                                              1     each
   156       6'' x 21/2'' clear plastic bins                                                           36     each
   157       6'' x 21/2'' clear plastic bins                                                           32     each
   158       Blue 5's rolling cart                                                                      1     each
   159       24'' x 24'' (2) shelves wire rack                                                          1     each
   160       24'' x 24'' (4) shelves wire rack                                                          1     each
   161       81'' x 24'' steam test table                                                               1     each
   162       24'' x 18 1/2'' Starrett stone table                                                       1     each
   163       60'' x 30'' cell blending table                                                            1     each
   164       60'' x 30'' cell blending table                                                            1     each
   165       Large Rubbermaid recyclable blue (paper)                                                   1     each
   166       Wood computer cart                                                                         1     each
   167       Wood computer cart                                                                         1     each
   168       Wood computer cart                                                                         1     each
   169       Wood computer cart                                                                         1     each
   170       Full Size Fridge                                Haier Brand                                1     each
   171       Full Size Fridge                                Haier Brand                                1     each
   172       Plastic chairs one stack of 10                                                             1     each
   173       2 step folding plastic ladder                   Cosco                                      1     each
   174       2'x4' metal, wood top workbench                                                            1     each
   175       Small fridge                                    Majic Chef                                 1     each
             Staco Energy - Uninteruptible Power Supplu
   176       Battery Back up System                          24/36/50/80kva 3phase input - output      1      each      E-2109
   177       Kalmar 3500 Fork Lift                           Model #1 E50BXEV, Serial 32388A           1      each
                                                             Model # MTR700LCN24T, Serial
   178       Yale Tugger                                     A817N06274W                               1      each
                                                             Model # MTR700LCN24T, Serial
   179       Yale Tugger                                     A817N06275W                               1      each

   180       Raymond 4000 Lift                               Model # EASIR4011, Serial #ETB-99-0744    1      each

   181       Raymond 4000 Lift                               Model # EASIR4011, Serial #ETB-99-0744    1      each
   182       Toyota 3500 Coil Lift                           Model #7BRU18, Serial #7BRU18-24072       1      each
   183       Toyota 3500 Coil Lift                           Model #7BRU18, Serial #7BRU18-24072       1      each
                                                             12 x 12 size, with A/C unit, 1 Door, 1
   184       Modular Office                                  Window                                    1      each
                                                             12 x 12 size, with A/C unit, 1 Door, 1
   185       Modular Office                                  Window                                    1      each
   186       Pallet Racking                                                                            1       lot
   187       74 1/2 '' x 38'' target inspection table                                                  1      each
   188       Wood top rolling workbench 80x36                                                          1      each
   189       Back up generator                                                                         1      each
   190       Thermal oxidizer                                                                          1      each
   191       Air compressors & dryers                           Two Kaeser compressors and (1) dryer   2      each
   192       Lamination Oven Sytems                                                                    2      each
   193       Aerzen Pump Stacks                                                                        4      each
   194       Kinney Vacuum pumps                                                                       2      each
   195       Jetline web welders                                                                       2       lot
   196       Web wash system                                                                           1      each
   197       Overhead crane                                  (2) ten ton, (1) 7.5 ton, (1) 3 ton       4      each
   198       Tool Room vertical mill                         (1) Alliant + (1) Atlas                   1      each
   199       Tool Room drill press                                                                     3      each



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   200       Tool Room band saw                                Doall and Roll-In-Saw                2          lot
   201       Lathe                                             Jet                                  1         each
   202       Bench grinder                                     Baldor                               1         each
   203       Hydraulic Press                                   55 ton                              1          each
   204       Shrink Wrap Machine                                                                    1         each
   205       Reverse Osmosis water treatment system                                                 1         each
   206       Chilled water system (glycol, heat exchangers, pumps)                                  1         each
   207       Miscellaneous fasteners, hardware                                                      7         pallet
   208       Restroom Lockers                                                                       2          lot
   209       Rooftop Air Handling Units                                                             3         each
   210       Dock Ceiling Heaters                                                                   2         each
   211       Shipping Scale                                    Floor Mounted                        1         each
   212       Hotsy Parts Washer                                                                     1         each
   213       Deposition System w/o electrical                  Back Reflector & ITO                2          each
   214       Coil Unwind/Rewind Chambers                       Vacuum chambers                     12         each
   215       Coil Upenders                                                                         12         each
   216       Overhead Doors                                    motorized                           10         each
             Primary electrical panels                                                             12
             Office cubicles                                                                       40
             Office furniture sets                                                                 12




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                                 Supplement Exhibit 1

                               Revised Proposed Order
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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                            Chapter 11
In re:
                                                            Case No. 12-43166
ENERGY CONVERSION DEVICES, INC.,
                                                            (Jointly Administered)
et al.1,
                                                            Judge Thomas J. Tucker
                       Debtors.


              ORDER AUTHORIZING THE SALE OF CERTAIN EQUIPMENT
              FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

         This matter has come before the Court upon the motion (the “Motion”) of the Debtors2

for an order authorizing the sale of the AH2 Equipment in the Auction at the AH2 Facility; due

and sufficient notice of the Motion having been given under the particular circumstances; and it

appearing that no other or further notice need be provided; the Court having considered the

Motion and, upon, the complete record of these Chapter 11 Cases and after due deliberation

thereon and good cause appearing therefor;

         IT IS HEREBY ORDERED THAT:

         1.     The Motion is GRANTED.

         2.     The Debtors are authorized, but not required, to sell the AH2 Equipment free and

clear of all Liens, with such Liens to attach to the proceeds of sale with the same validity extent

and priority as immediately prior to the sale, at an auction to be held at the AH2 Facility and




1The Debtors in these jointly administered cases are Energy Conversion Devices, Inc. (Case No.
12-43166) and United Solar Ovonic LLC (Case No. 12-43167).
2Capitalized terms used but not defined herein shall have the meaning ascribed to them in the
Motion.


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conducted by an auctioneer, subject to the approval of the Debtors’ retention of such auctioneer

by this Court.

       3.        Any party’s failure to object to the relief requested in the Motion shall be

determined to be “consent” to such sale within the meaning of 11 U.S.C. § 363(f)(2).

       4.        The Debtors are authorized to take all actions necessary to implement the relief

granted in this Order.

       5.        TheTo the extent applicable, the fourteen (14) day stay of Federal Rule of

Bankruptcy Procedure 6004(h) is hereby waived, and the terms and conditions of this Order shall

be immediately effective and enforceable upon its entry.

       6.        The Court will retain jurisdiction with respect to all matters arising from or

related to the implementation of this order.




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Document comparison by Workshare Professional on Monday, March 05, 2012
10:04:18 PM
Input:
Document 1 ID       interwovenSite://HMSCDMS/ACTIVE/10542082/1
                    #10542082v1<ACTIVE> - ECD -- Revised Proposed Order
Description
                    (AH2 Sale)
Document 2 ID       interwovenSite://HMSCDMS/ACTIVE/10542082/2
                    #10542082v2<ACTIVE> - ECD -- Revised Proposed Order
Description
                    (AH2 Sale)
Rendering set       standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                    Count
Insertions                                   1
Deletions                                    1
Moved from                                   0
Moved to                                     0
Style change                                 0
Format changed                               0
Total changes                                2




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